     Case 2:13-cr-00096-RHW             ECF No. 1042         filed 07/06/16      PageID.3564 Page 1 of 3
 PROB 12C                                                                                  Report Date: July 6, 2016
(6/16)
                                                                                                             FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                       United States District Court                                EASTERN DISTRICT OF WASHINGTON



                                                       for the                                       Jul 06, 2016
                                                                                                        SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher Scott Bouck                   Case Number: 0980 2:13CR00096-RHW-6
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: February 6, 2014
 Original Offense:            Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:           Prison 24 months;              Type of Supervision: Supervised Release
                              TSR - 36 months

 Revocation Sentence:         Prison 30 days;
 Date: June 22, 2016          TSR - 36 months


 Asst. U.S. Attorney:         Aine Ahmed                     Date Supervision Commenced: June 30, 2016
 Defense Attorney:            Federal Defender’s            Date Supervision Expires: March 18, 2019


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 8: The defendant must report to the probation office in the federal
                        judicial district where he or she is authorized to reside within 72 hours of release from
                        imprisonment, unless the probation officer tells the defendant to report to a different
                        probation office or within a different time frame.

                        Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                        Washington, by failing to report to U.S. Probation after his release from custody. The
                        undersigned officer received notification from the U.S. Marshals Service that Mr. Bouck
                        would be releasing from custody on June 30, 2016. The undersigned requested that the U.S.
                        Marshals Service direct Mr. Bouck to report to the U.S. Probation Office on July 1, 2016.
                        They advised they would give Mr. Bouck the message. Mr. Bouck failed to report as
                        directed on July 1, 2016. At the time of this report, July 5, 2016, he has failed to make any
                        contact with the undersigned officer since his release from custody. Mr. Bouck’s
                        whereabouts are unknown, and it appears he has absconded from supervision.
    Case 2:13-cr-00096-RHW       ECF No. 1042         filed 07/06/16      PageID.3565 Page 2 of 3
Prob12C
Re: Bouck, Christopher Scott
July 6, 2016
Page 2

          2      Standard Condition # 7: If this judgment imposes restitution, a fine, or special assessment,
                 it is a condition of supervised release that the defendant pay in accordance with the Schedule
                 of Payments sheet of this judgment. The defendant shall notify the probation officer of any
                 material change in the defendant’s economic circumstances that might affect the defendant’s
                 ability to pay any unpaid amount of restitution, fine, or special assessment.

                 Supporting Evidence: Since Mr. Bouck’s supervision commenced originally, on or about
                 March 4, 2016, he has failed to make a payment toward his restitution or special assessment.
          3      Standard Condition # 9: After initially reporting to the probation office, the defendant will
                 receive instructions from the court or the probation officer about how and when to report to
                 the probation officer, and the defendant must report to the probation officer as instructed.

                 Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                 Washington, by failing to report to the undersigned officer as directed. The undersigned
                 officer received notification that Mr. Bouck would be releasing on June 30, 2016. The
                 undersigned requested the U.S. Marshals Service to direct Mr. Bouck to report to the U.S.
                 Probation Office on July 1, 2016. They advised they would give Mr. Bouck the message.
                 Mr. Bouck failed to report as directed and failed to make any attempt to contact the
                 undersigned officer. His whereabouts are unknown, and it appears he has absconded from
                 supervision.
          4      Standard Condition # 12: The defendant must live at a place approved by the probation
                 officer. If the defendant plans to change where he or she lives or anything about his or her
                 living arrangements (such as people the defendant lives with), the defendant must notify the
                 probation officer at least 10 calendar days before the change. If notifying the probation
                 officer in advance is not possible due to unanticipated circumstances, the defendant must
                 notify the probation within 72 hours of becoming aware of a change or expected change.

                 Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                 Washington, on or about July 5, 2016, by failing to notify the probation officer of any
                 change in residency. Mr. Bouck released from custody on June 30, 2016 and has failed to
                 notify the undersigned officer where he is currently residing. Mr. Bouck has not made any
                 effort to report or contact the undersigned officer and his whereabouts are unknown.

                 Special Condition #28: The defendant shall reside in a residential reentry center (RRC) for
                 a period up to 180 days at the direction of the supervising officer. The defendant’s
                 participation in the programs offered by the RRC is limited to employment, education,
                 treatment, and religious services at the direction of the supervising probation officer. The
          5.     defendant shall abide by the rules and requirements of the facility.

                 Supporting Evidence: A revocation of supervised release hearing was held on June 22,
                 2016. Mr. Bouck was ordered to serve 30 days custody, and placement at the RRC for up
                 to 180 days following his release from custody. Mr. Bouck’s bed date at the RRC is
                 scheduled for July 7, 2016. The offender appears to have absconded from supervision and
                 his whereabouts are unknown. Based on Mr. Bouck’s behavior consisting of absconding
                 from supervision, it appears he has no intention to enter into the RRC as ordered by the
                 court.
    Case 2:13-cr-00096-RHW            ECF No. 1042         filed 07/06/16      PageID.3566 Page 3 of 3
Prob12C
Re: Bouck, Christopher Scott
July 6, 2016
Page 3
The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     07/06/2016
                                                                            s/Corey M. McCain
                                                                            Corey M. McCain
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ 9]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                            Signature of Judicial Officer

                                                                                +VMZ 
                                                                            Date
